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              Exhibit ‘A’
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    U.S. Department of Justice                               Detention Services
    United States Marshals Service                           Intergovernmental Agreement
    Prisoner Operations Division
    1. Agreement Number         2. Effective Date            3. Facility Code(s)                 4. DUNS Number
       83-95-0013                 See Block 19                    4Y9                                80826905
    5. Issuing Federal Agency                                6. Local Government
                                                             Northern Neck Regional Jail
      United States Marshals Service                         3908 Richmond Blvd
      Prisoner Operations Division                           Warsaw, Virginia 22572
      2604 Jefferson Davis Highway
      Alexandria, VA 22301-1025                              Tax ID#: XX-XXXXXXX
    7. Appropriation Data                                    8. Local Contact Person

       15X1020                                               Ted Hull. Suoerintendent
                                                            i....;..=-~~~;..;;.;...;.;.;..;;..;;..;..;.;;;..;;;.;.;--~~~~~~~~~~~~--1

                                                             9. Telephone: (b)(6) (b)(7)(C)
                                                                Fax: 804-333-4366
                                                                Email: (b)(6) (b)(7)(C)
                                                                                                           .· .P~r: piem:•1:Rate
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    10. This agreement is for the housing, safekeeping,      11.                                     12.
    and subsistence of Federal detainees, in accordance
    with content set forth herein.                           Male: 280        Female: 20              $55.00

                                                             Total: 300
    13a. Optional Guard/Transportation Services to:          14.Guard/Transportatlon Hourly Rate: 20.00 for medical
                                                             guard services only If the county has to provide this
    181 Medical Facility                                     service for over 24 hours.
    181 U.S. Courthouse                                      All other Transportation/Guard Service is encompassed in the
                                                             per diem rate.
    D JPATS
                                                             Mileage shall be reimbursed by the Federal Government at the
    13b. D Department of Labor Wage Determination            General Services Administration (GSA) Federal Travel Regulation
                                                             Mlleaae Rat~                        ~
    15. Local Government Certification

    To the best of my knowledge and belief, information      Sfgnature ....
    submitted in support of this agreement is true and
    correct. This document has been duly authorized by
    the governing authorities of their applying
                                                               {ed f/uli--
    Department or Agency State or County Government          Print• Name
    and therefore agree to comply with all provisions set
    forth herein this document.                              ~tYI fenJeviJ-
                                                             Title                                                     'Date
    17.Federal Detainee         18. Other Authorized         19. Signature of Person Authorized to Sign (Federal)
    Type Authorized             Agency User

    ~Adult Male
                                                              X01> 0 ~           a\· Bt>+,b u)
                                                             Signature
                                181 BOP
    181 Adult Female                                         Renita L. Barbee
                                181 ICE                      Print Name
    0 Juvenile Male

(
    D Juvenile Female                                        Grants Specialist
                                                             Title
                                                                                                             411/Jol
                                                                                                              (I Date
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Agreement Number 83-95-0013



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Authority

Pursuant to the authority of Section 119 of the Department of Justice Appropriations Act
of 2001 (Public Law 106-553), this Agreement Is entered into between the United States
Marshals Service (hereinafter referred to as the "Federal Government") and Northern
Neck Regional Jail (hereinafter referred to as "Local Government"), who hereby agree as
follows:

Purpose of Agreement and Security Provided
The Federal Government and the Local Government establish this Agreement that allows
the United States Marshals Service (USMS) or other authorized agency user as noted in
block #18 on page (1) to house Federal detainees with the Local Government at the
Northern Neck Regional Jail, 3908 Richmond Road, Warsaw, Virginia 22572 (hereinafter
referred to as "the Facility") designated in #6 page 1.
The population(hereinafter referred to as "Federal detainees,") will include individuals
charged with Federal offenses and detained while awaiting trial, individuals who have
been sentenced and are awaiting designation and transport to a Bureau of Prisons (BOP)
facility, and individuals who are awaiting a hearing on their immigration status or
deportation.
The Local Government shall accept and provide for the secure custody, safekeeping,
housing, subsistence and care of Federal detainees in accordance with all state and local
laws, standards, regulations, policies and court orders applicable to the operation of the
Facility. Detainees shall also be housed in a manner that is consistent with Federal law
and the Core Detention Standards and/or any other standards required by an authorized
agency whose detainees are housed by the Local Government pursuant to this
Agreement (see attached).
The USMS ensures the secure custody, care, and safekeeping of USMS detainees.
Accordingly, all housing or work assignments, and recreation or other activities for USMS
detainees are permitted only within secure areas of the building or within the secure
external recreational/exercise areas.
At all times, the Federal Government shall have access to the Facility and to the Federal
detainees housed there, and to all records pertaining to this Agreement, including
financial records, for a period going back three (3) years from the date of request by the
Federal Government.
Period of Performance and Termination

This Agreement is effective upon the date of signature of the authorized USMS Prisoner
Operations Division official, and remains in effect unless inactivated in writing by either
party. Either party may terminate this Agreement for any reason with written notice at
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least thirty (30) calendar days in advance of termination, unless an emergency situation
requires the immediate relocation of Federal detainees.

Where the Local Government has received a Cooperative Agreement Program (CAP)
award, the termination provisions of the CAP prevail.

Assignment and Outsourcing of Jail Operations

The overall management and operation of the Facility housing Federal detainees may
not be contracted out without the prior express written consent of the Federal
Government.

Medical Services

The Local Government shall provide Federal detainees with the same level and range of
care inside the Facility as that provided to state and local detainees. The Local
Government is financially responsible for all medical care provided inside the Facility to
Federal detainees. This includes the cost of all medical, dental, and mental health care
as well as the cost of medical supplies, over-the-counter medications and, any
prescription medications routinely stocked by the Facility which are provided to Federal
detainees. When possible, generic medications should be prescribed. The cost of all of
the above-referenced medical care is covered by the Federal per diem rate. However,
for specialized medical services not routinely provided within the Facility, such as
dialysis, the Federal Government will pay for the cost of that service.

The Federal Government Is financially responsible for all medical care provided outside
the Facility to Federal detainees. The Federal Government must be billed directly by
outside medical care providers pursuant to arrangements made by the Local
Government for outside medical care. The Local Government should utilize outside
medical care providers that are covered by the USMS's National Managed Care Contract
(NMCC) to reduce the costs and administrative workload associated with these medical
services. The Local Government can obtain information about NMCC covered providers
from the local USMS District Office. The Federal Government will be billed directly by
the medical care provider not the Local Government. To ensure that Medicare rates are
properly applied, medical claims for Federal detainees must be on Centers for Medicare
and Medicaid (CMS) Forms so that they can be re-priced to Medicare rates in accordance
with the provisions of Title 18 U.S.C. Section 4006. If the Local Government receives
any bills for medical care provided to Federal detainees outside the Facility, the Local
Government should immediately forward those bills to the Federal Government for
processing.
All outside medical care provided to Federal detainees must be pre-approved by the
Federal Government except In a medical emergency. In the event of an emergency, the
Local Government shall proceed immediately with necessary medical treatment. In such
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an event, the Local Government shall notify the Federal Government immediately
regarding the nature of the Federal detainee's illness or injury as well as the types of
treatment provided.

Medical care for Federal detainees shall be provided by the Local Government in
accordance with the provisions of USMS, Publication 100-Prisoner Health Care Standards
(www.usmarshals.gov/prisoner/standards.htm) and in compliance with the Core
Detention Standards or those standards which may be required by any other authorized
agency user. The Local Government is responsible for all associated medical record
keeping.

The Facility shall have in place an adequate infectious disease control program which
includes testing of all Federal detainees for Tuberculosis (TB) within 14 days of intake.

TB testing shall be accomplished in accordance with the latest Centers for Disease
Control (CDC) Guidelines and the result promptly documented in the Federal detainee's
medical record. Special requests for expedited TB testing and clearance (to include time
sensitive moves) will be accomplished through advance coordination by the Federal
Government and Local Government.

The Local Government shall immediately notify the Federal Government of any cases of
suspected or active TB or any other highly communicable diseases such as Severe Acute
Respiratory Syndrome (SARS), Avian Flu, Methlcillin-Resistant Staphylococcus Aureus
(MRSA), Chicken Pox, etc., which might affect scheduled transports or productions so
that protective measures can be taken by the Federal Government.
When a Federal detainee is being transferred and/or released from the Facility, they will
be provided with seven (7) days of prescription medication which will be dispensed from
the Facility. Medical records and the USM-553 must travel with the Federal detainee. If
the records are maintained at a medical contractor's facility, it is the Local Government's
responsibility to obtain them before a Federal detainee is moved.
Federal detainees may be charged a medical co-payment by the Local Government in
accordance with the provisions of Title 18, USC Section 4013(d).        The Federal
Government is not responsible for medical co-payments and cannot be billed for these
costs even for indigent Federal detainees.

Affordable Care Act

The Local Government shall provide Federal detainees, upon release of custody,
information regarding the Affordable Care Act, The Affordable Care Act website is located
at http://www.hhs.gov/opa/affordable-care-act/.



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Receiving and Discharge of Federal Detainees

The Local Government agrees to accept Federal detainees only upon presentation by a
law enforcement officer of the Federal Government or a USMS designee with proper
agency credentials

The Local Government shall not reJocate a Federal detainee from one facility under its
control to another facility not described in this Agreement without permission of the
Federal Government. Additional facilities within the same Agreement shall be identified
in a modification.

The Local Government agrees to release Federal detainees only to law enforcement
officers of the authorized Federal Government agency initially committing the Federal
detainee (i.e., Drug Enforcement Administration (DEA), Immigration and Customs
Enforcement (ICE), etc.) or to a Deputy United States Marshal (DUSM) or USMS
designee with proper agency credentials. Those Federal detainees who are remanded to
custody by a DUSM may only be released to a DUSM or an agent specified by the DUSM
of the Judicial District.

USMS Federal detainees sought for a state or local court proceeding must be acquired
through a Writ of Habeas Corpus or the Interstate Agreement on Detainers and then
only with the concurrence of the jurisdictional United States Marshal (USM).

Optional Guard/Transportation Services to Medical Facility

If Medical Facility in block #13 on page one (1) of this Agreement is checked, the Local
Government agrees, subject to the availability of its personnel, to provide transportation
and escort guard services for Federal detainees housed at the Facility to and from a
medical facility for outpatient care, and transportation and stationary guard services for
Federal detainees admitted to a medical facility.

These services should be performed by (b) (7)(E)                qualified law enforcement
or correctional officer personnel. Criteria as specified by the County Entity running the
facility. In all cases these are part of a fulltime Law Enforcement Officer (LEO) or
Correctional Officer (CO) that have met the minimum training requirements.

The Local Government agrees to augment this security escort If requested by the USM to
enhance specific requirement for security, prisoner monitoring, visitation, and
contraband control.
If an hourly rate for these services have been agreed upon to reimburse the Local
Government, it will be stipulated in block #14 on page one (1) of this Agreement. After
thirty-six (36) months, if a rate adjustment Is desired, the Local Government shall
submit a request. Mileage shall be reimbursed In accordance with the current GSA
mileage rate.
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Optional Guard/Transportation Services to U.S. Courthouse

If U.S. Courthouse in block #13 on page one (1) of this Agreement is checked, the Local
Government agrees, subject to the availability of its personnel, to provide transportation
and escort guard services for Federal detainees housed at its facility to and from the
U.S. Courthouse.

These services should be performed by (b) (7)(E)                qualified law enforcement
or correctional officer personnel.

The Local Government agrees to augment this security escort if requested by the USM to
enhance specific requirements for security, detainee monitoring, and contraband control.

Upon arrival at the courthouse, the Local Government's transportation and escort guard
will turn Federal detainees over to a DUSM only upon presentation by the deputy of
proper law enforcement credentials.

The Local Government will not transport Federal detainees to any U.S. Courthouse
without a specific request from the USM or their designee who will provide the detainee's
name, the U.S. Courthouse, and the date the detainee is to be transported.

Each detainee will be restrained in handcuffs, waist chains, and leg irons during
transportation unless otherwise authorized by the USMS.

If an hourly rate for these services have been agreed upon to reimburse the Local
Government, it will be stipulated in block #14 on page one (1) of this Agreement. After
thirty-six (36) months, if a rate adjustment is desired, the Local Government shall
submit a request. Mileage shall be reimbursed in accordance with the current GSA
mileage rate.
Optional Guard/Transportation          Services    to    Justice    Prisoner      tl   Alien
Transportation System (JPATS)

If JPATS in block #13 on page one (1) of this Agreement is checked, the Local
Government agrees, subject to the availability of its personnel, to provide transportation
and escort guard services for Federal detainees housed at its facility to and from the
JPATS.

These services should be performed by (b) (7)(E)               qualified law enforcement
or correctional officer personnel.

The Local Government agrees to augment this security escort if requested by the USM to
enhance specific requirements for security, detainee monitoring, and contraband control.


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Upon arrival at JPATS, the Local Government's transportation and escort guards will turn
federal detainees over to a DUSM only upon presentation by the deputy of proper law
enforcement credentials.

The Local Government will not transport federal detainees to the airlift without a specific
request from the USM who will provide the detainee's name, location (district), and the
date the detainee is to be transported.

Each detainee will be restrained in handcuffs, waist chains, and leg irons during
transportation.

If an hourly rate for these services has been agreed upon to reimburse the Local
Government, it will be stipulated on in block #14 on page one (1) of this Agreement.
After thirty-six (36) months, if a rate adjustment is desired, the Local Government shall
submit a request. Mileage shall be reimbursed in accordance with the current GSA
mileage rate.

Specia I Notifications

The Local Government shall notify the Federal Government of any activity by a Federal
detainee which would likely result in litigation ·or alleged criminal activity.

The Local Government shall immediately notify the Federal Government of an escape of
a Federal detainee. The Local Government shall use all reasonable means to apprehend
the escaped Federal detainee and all reasonable costs in connection therewith shall be
borne by the Local Government.           The Federal Government shall have primary
responsibility and authority to direct the pursuit and capture of such escaped Federal
detainees. Additionally, the Local Government shall notify the Federal Government as
soon as possible when a Federal detainee is involved in an attempted escape or
conspiracy to escape from the Facility.
In the event of the death or assault or a medical emergency of a Federal detainee, the
Local Government shall immediately notify the Federal Government.
Special Management Inmates and Suicide Prevention

The Local Government shall have written policy, procedure, and practice require that all
special management inmates are personally observed by a correctional officer twice per
hour, but no more than 40 minutes apart, on an irregular schedule. Inmates who are
violent or mentally disordered or who demonstrate unusual or bizarre behavior receive
more frequent observation; suicidal inmates are under constant observation.



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                                                             Local Government (initial): _ _
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The Local Government shall have a comprehensive suicide-prevention program in place
incorporating all aspects of identification, assessment, evaluation, treatment, preventive
intervention, and annual training of all medical, mental health, and correctional staff.

Prisoner Rape Elimination Act (PREA)

The Facility must post the Prisoner Rape Elimination Act brochure/bulletin in each
housing unit of the Facility. The Facility must abide by all relevant PREA regulations.

Service Contract Act

·This Agreement incorporates the following clause by reference, with the same force and
 effect as if it was given in full text. Upon request, the full text will be made available.
 The full text of this provision may be accessed electronically at this address:
 http://www.dol.gov/oasam/regs/statutes/351.htm.

Federal Acquisition Regulation Clause(s):
52.222-41 Service Contract Act of 1965, as Amended (July 2005)

52.222-42 Statement of Equivalent Rates for Federal Hires (May 1989)

52.222-43 Fair Labor Standards Act and the Service Contract Act - Price Adjustment
(Multiyear and Option Contracts) (May 1989)

The current Local Government wage rates shall be the prevailing wages unless notified
by the Federal Government.
If the Department of Labor Wage Determination block #13b on page one (1) of this
Agreement is checked, the Local Government agrees, in accordance with FAR PART
52.222.43 (f), must notify the Federal Government of any increase or decrease in
applicable wages and fringe benefits claimed under this clause within 30 days after
receiving a new wage determination.
Per-Diem Rate
The Federal Government will use various price analysis techniques and procedures to
ensure the per-diem rate established by this Agreement is considered a fair and
reasonable price. Examples of such techniques include, but are not limited to, the
following:

   1.   Comparison of the requested per-diem rate with the independent Federal
        Government estimate for detention services, otherwise known as the Core Rate;
   2.   Comparison with per-diem rates at other state or local facilities of similar size
        and economic conditions;
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   3.   Comparison of previously proposed prices and previous Federal Government and
        commercial contract prices with current proposed prices for the same or similar
        items;

  4.    Evaluation of the provided jail operating expense information;

The firm-fixed per-diem rate for services is stipulated in block #12 on page (1) of this
agreement, and shall not be subject to adjustment on the basis of Northern Neck
Regional Jail's actual cost experience in providing the service. The per-diem rate shall
be fixed for a period from the effective date of this Agreement forward for thirty-six (36)
months. The per-diem rate covers the support of one Federal detainee per "Federal
detainee day", which shall include the day of arrival, but not the day of departure.

After thirty-six (36) months, if a per-diem rate adjustment is desired, the Local
Government shall submit a request through the Office of the Federal Detention Trustee's
(OFDT) electronic Intergovernmental Agreements (eIGA) area of the Detention Services
Network (DSNetwork). All information pertaining to the Facility on the DSNetwork will
be required before a new per-diem rate will be considered.

Billing and Financial Provisions

The Local Government shall prepare and submit for certification and payment, original
and separate invoices each month to each Federal Government component responsible
for Federal detainees housed at the Facility.

Addresses for the components are:

United States Marshals Service
Eastern District of Virginia
Albert Bryan U.S. Courthouse
401 Courthouse Square
Alexandria, Virginia 22314
(703) 837-5500

United States Marshals Service
Middle District of Florida
801 N. Florida Avenue 4h Floor
Tampa, Florida 33602
(813) 274-6401




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                                                             Local Government (Initial): _ _
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United States Marshals Service
D.C. Superior Court
500 Indiana Avenue NW Room C-250
Washington, D.C. 20001
(202)616-8640

United States Marshals Service
District of Vermont
POB 946
Burlington, Vermont 05402
(802) 951-6271

United States Marshals Service
Northern District of West Virginia
500 West Pike Street
Clarksburg, WVA 26301
(304) 623-046

United States Marshals Service
Southern District of West Virginia
Robert Byrd Courthouse
300 Virginia Street E.
Charleston, WVA 25301
(304) 347-5136

United States Marshals Service
District of Columbia
333 Constitution Avenue NW
Washington, D.C. 20001
(202) 353-0600

Bureau of Prisons
FCI Petersburg Medium
Federal Correctional Institution
100 River Road
Hopewell, Virginia 23860
(804) 504-7200

Immigration & Customs Enforcement
Washington Field Office
2675 Prosperity Avenue
Fairfax, Virginia 22031
(703) 285-6301

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                                                           Local Government (Initial): _ _
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To constitute a proper monthly invoice, the name and address of the Facility, the name
of each Federal detainee, their specific dates of confinement, the total days to be paid,
the appropriate per diem rate as approved in the Agreement, and the total amount billed
(total days multiplied by the per-diem rate per day) shall be listed, along with the name,
title, complete address, and telephone number of the Local Government official
responsible for invoice preparation. Additional services provided, such as transportation
and guard services, shall be listed separately and itemized.

Nothing contained herein shall be construed to obligate the Federal Government to any
expenditure or obligation of funds in excess of, or in advance of, appropriations in
accordance with the Anti-Deficiency Act, 31 U.S.C. 1341.

Payment Procedures

The Federal Government will make payments to the Local Government at the address
listed in block #6 on page one (1) of this Agreement, on a monthly basis, promptly,
after receipt of an appropriate invoice.

Hold Harmless

It is understood and agreed that the Local Government shall fully defend, indemnify, and
hold harmless the United States of America, Its officers, employees, agents, and
servants, individually and officially, for any and all liability caused by any act of any
member of the Local Government or anyone else arising out of the use, operation, or
handling of any property (to include any vehicle, equipment, and supplies) furnished to
the Local Government in which legal ownership is retained by the United States of
America, and to pay all claims, damages, judgments, legal costs, adjuster fees, and
attorney fees related thereto. The Local Government will be solely responsible for all
maintenance, storage, and other expenses related to the care and responsibility for all
property furnished to the Local Government.

Disputes
Disputes, questions, or concerns pertaining to this Agreement will be resolved between
appropriate officials of each party. Both the parties agree that they will use their best
efforts to resolve the dispute in an informal fashion through consultation and
communication, or other forms of non-binding alternative dispute resolution mutually
acceptable to the parties.




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Inspection of Services

Inspection standards for detainees may differ among authorized agency users. The
Local Government agrees to allow periodic inspections by Federal Government
inspectors, to include approved Federal contractors, in accordance with the Core
Detention Standards required by any or all of the Federal authorized agency users
whose detainees may be housed pursuant to this Agreement                Findings of the
inspections will be shared with the Facility administrator in order to promote
improvements to Facility operations, conditions of confinement, and levels of services.

Modifications

For all modifications except for full or partial terminations, either party may initiate a
request for modification to this Agreement in writing. All modifications negotiated will
be effective only upon written approval of both parties.
Litigation

The Federal Government shall be notified, in writing, of all litigation pertaining to this
Agreement and provided copies of any pleadings filed or said litigation within five (5)
working days of the filing.

The Local Government shall cooperate with the Federal Government legal staff and/or
the United States Attorney regarding any requests pertaining to Federal Government or
Local Government litigation.




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Rape Elimination Act Reporting Information

SEXUAL ASSAULT AWARENESS
"Ibis document is requested to be posted in each Housing Unit Bulletin Board at all Contract Detention Facilities. This
document may be used and adapted by Intergovernmental Service Agreement Providers.
'While detained by the Department of Justice, United States Marshals Service, you have a right to be safe and free from sexual
harassment and sexual assaults.

Definitions

  A. Detainee-on-Detainee Sexual Abuse/Assault
  One or more detainees engaging in or attempting to engage in a sexual act with another detainee or the use of threats,
  intimidation, inappropriate touching or other actions and/ or communications by one or more detainees aimed at
  coercing and/ or pressuring another detainee to engage in a sexual act.

  B. Staff-on-Detainee Sexual Abuse /Assault
  Staff member engaging in, or attempting to engage in a sexual act with any detainee or the intentional touching of a
  detainee's genitalia, anus, groin, breast, inner thigh. or buttocks with the intent to abuse, humiliate, harass, degrade, arouse,
  or gratify the sexual desires of any person. Sexual abuse/ assault of detai~ees by staff or other detainees is an
  inappropriate use of power and is prohibited by DOJ policy and the law.

  C. Staff Sexual Misconduct is:
  Sexual behavior between a staff member and detainee which can include, but is not limited to indecent, profane or abusive
  language or gestures and inappropriate visual surveillance of detainees.

Prohibited Act5
.A detainee, who engages in inappropriate sexual bchaYior with or directs it at others, can be charged ''-'ith the following
Prohibited Acts under the Detainee Disciplinary Policy.

• Using Abusive or Obscene Language
• Sexual Assault
• Making a Sexual Proposal
• Indecent Exposure
• Engaging in Sex Act

Detention as a Safe Environment
\"\'hile you arc detained, no one has the right to pressure you to engage in sexual acts or engage in unwanted sexual behavior
regardless of your age, size, race~ or ethnicity. Regardless of your sexual orientation, you have the right to be ~afe from
unwanted sexllal advances and acts.

Confidentiality
Information concerning the identity of a detainee victim reporting a sexual assault, and the facts of the report itself, shall be
limited to those who have the need to know in order to make decisions concerning the detainee-victim's welfare and for law
enforcement investigative purposes.

Report All Assaults!
If you become a victim of a sexual assault, you should report it immediately to any staff person you trust, to include housing
officers, chaplains, medical staff, supervisors or Deputy U.S. Marshal~. Staff members keep the reported information
confidential and only disCU$s it with the appropriate officials on a need to know basis. If you are not comfortable reporting the
assault to staff, you have other option~:
                                                       Page 14of15
                                                                                        Local Government (initial):-.....--
                                                                                      Federal Government (initial): RLI!:>
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o   Write a letter reporting the sexual misconduct to the person in charge or the United States Marshal. To ensure
    confidentiality, use special (Legal) mail procedures.
o   File an Emergency Detainee Grievance - If you decide your complaint is too sensitive to file with the Officer in Charge,
    you can file your Grievance directly with the Field Office Director. You can get the forms from your housing unit officer.
    or a l •'acility supcrvi"or.
o   Write to the Office of Inspector General (OIG), which investigates allegations of staff misconduct. 111e address is: Office
    oflnspector General, U.S. Department of Justice, 950 Pennsylvania Ave. Room 4706, Washington, DC. 20530
o   Call, at no expense to you, the Office of Inspector General (OIG). The phone number is 1-800-869-4499.

Individuals who sexually abuse or assault detainees can only be disciplined or prosecuted if the abuse is reported.

A publication of the Office of the
Fc..-deral Detention Trustee
Washington, DC

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U. S. Depa rtment of Just ice
Unit ed Stat es Marshals Service                         M odification of Intergovernmenta l Agreem ent

1. Agreement No.            2. Effective Date    3. Faci lity Code(s)     4. PREA-ACA              5. DUNS No.
    83 -95 -0013              January 1, 2015           4Y9               Modification                 N/A
6. Issuing Federal Agency                        7. Local Government

United States Marshals Se rv ice                 Northern Neck Regiona l Jail
Prisoner Ope rations Division                    3908 Richmond Road
Office of Detention Serv ices                    Wa rsaw, VA 22572
CS-3, 5th Floor
Washinqto n, DC 20530- 1000
8. Appropriat ion Data               9. Per-Diem Rat e               10. Guard/Transportation Hou rly Rate
    15X1020                             $55 .00                          See IGA

11.   EXCEPT AS PROVIDED SPECIFICALLY HEREIN, ALL TERMS AND CONDITIONS OF THE IGA DOCUMENT
      REFERRED TO IN BLOCK 1, REMAIN UNCHANGED. TERMS OF THIS MODI FICATION:

THE PURPOSE OF TH IS MODIFICATIO N IS TO ADD THE PRI SON RAPE ELI MI NATION ACT (PREA) AN D THE
AFFORDABLE CARE ACT TO THE CURRENT IGA (SEE PAG E 2-4).

The Facility m ust post the Prison Rape Elimination Act broch ure/bu lletin in each housing unit of the
Facilit y. (See Attachme nt) The Facility must abide by all re levant PREA reg ulations.




                  NO OTHER TERMS OR CONDITIONS OF THIS AGREEMENT ARE AFFECTED .




1 2 . INST RUCTIONS TO LOCAL GOVERNM ENT FO R EXECUTION OF THIS MODIFICATION :

A. ~ LOCAL GOVERNMENT IS NOT REQUIRED                     B.   0   LOCAL GOV ERNM ENT IS REQUIRED TO SIGN
     TO SIGN THIS DOCUMENT                                         THIS DOCUMENT AND RETURN ALL COPIES TO
                                                                   U. S. MARSHAL

13. APPROVALS

A. LOCAL GOVERNMENT                                      B. FEDERAL GOVERNMENT             ~~
                                                               mt11_ye,w . ~ .£.---
                      Signature
                                                                     l
                                                           Grants Sgecialist
                                                                               Signature

                                                                                            Feb 25 . 2015
          TITLE                      DATE                          TITLE                      DATE

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Rape Elimination Act Reporting Information

SEXUAL ASSAULT AWARENESS
This document is requested to be posted in each Housing Unit Bulletin Board at all Contract Detention Facilities. This
document may be used and adapted by lntergm·ernmental Sen·ice Agreement Providers.
\\bile detained by the Department of .Justice, United States ~farshals Sen;ce. you have a right to be safe and free from sexual
harassment and sexual assaults.

Definitions

  A. Detainee-on-Detainee Sexual Abuse /Assault
  One or more detainees engaging in or attempting to engage in a sexual act with another detainee or the use of threats,
  intimidation, inappropriate touching or other actions and/ or communications by one or more detainees aimed at
  coercing and/ or pressuring another detainee to engage in a se>.."1.1al act.

  B. Staff-on-Detainee Sexual Abuse /Assault
  Staff member engaging in, or attempting to engage in a sexual act with any detainee or the intentional touching of a
  detainee's genitalia. anus, groin, breast, inner thigh. or buttocks with the intent to abuse. humiliate, harass, degrade, arouse,
  or gratify the se)..-ual desires of any person. Sexual abuse/ assault of detainees by staff or other detainees is an
  inappropriate use of power and is prohibited by DOJ policy and the law.

  C. Staff Sexual Misconduct is:
  Sexual behavior between a staff member and detainee which can include, but is not limited to indecent, profane or abusi,·c
  language or gestures and inappropriate ,·isual sun"cillance of detainees.

Prohibited Acts
A detainee, who engages in inappropriate sexual behavior \\ith or directs it at others, can be charged with the following
Prohibited .Acts under the Detainee Disciplinary Policy.

 • Using Abusive or Obscene Language
 • Sexual Assault
 • Making a Sexual Proposal
 • Indecent Exposure
 • Engaging in Sex Act

Detention as a Safe Environment
\\lule you are detained, no one has the right to pressure you to engage in sexual acts or engage in unwanted se>.."Ual beha,·ior
regardless of your age, size, race, or eth1ucity. Regardless of your SC)..llal orientation, you haYe the right to be safe from
unwanted sexual adYances and acts.
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Confidentiality
lnfonnation concerning the identity of a detainee victim reporting a sexual assault. and the facts of the report itself, shall be
limited to those who have rhe need to knmv in order to make decisions concerning the detainee-,·ictim's welfare and for la\v
enforcement im·estigati,·e purposes.

Report All Assaults!
If you become a victim of a se:~a1al assault, you should report it inunediately to any staff person you tmst, to include housing
officers, chaplains, medical staff. supen·isors or Deputy C.S. ivlarshals. Staff members keep the reported information
confidential and only discuss it with the appropriate officials on a need to know basis. If you are not comfortable reporting the
assault to staff, you have other options:
o   \\'rite a letter reporting the sexual misconduct to the person in charge or the Cnited States l\farshal. To ensure
    confidentiality, use special (Legal) mail procedures.
o   File an Emergency Detainee Gtievance - If you decide your complaint is too sensitive to file with the Officer in Charge,
    you can file your GrieYance directly with tl1e Field Office Director. You can get the forms from your housing unit officer,
    or a Facility supen·isor.
o   \\'rite to tl1e Office of Inspector General (OIG). which in\·cstigatcs allegations of staff misconduct. 'l11e address is: Office
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Affordable Care Act

The Local Government shall provide Federal detainees, upon release of custody;
information regarding the Affordable Care Act, The Affordable Care Act website is located
at http://www.hhs.govIopa/affordable-care-act/.
